         Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 1 of 18



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
____________________________________
                                           )
DANIKA HARTWELL,                           )
   Individually and on behalf of a class   )          C.A. NO. 1:18-CV-11895-DJC
   of persons similarly situated,          )
                                           )
         Plaintiff,                        )
                                           )
v.                                         )
                                           )
AMERICREDIT FINANCIAL SERVICES, )
INC. d/b/a GM FINANCIAL,                   )
                                           )
         Defendant.                        )
___________________________________ )

        PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
                                       I. INTRODUCTION

       After repossessing Ms. Hartwell’s and other putative class members’ vehicles,

Americredit Financial Services, Inc. d/b/a GM Financial (“GM”) sent them form post-

repossession notices that violated the Massachusetts Uniform Commercial Code (“UCC”).

Specifically, GM failed to inform consumers how their deficiency or surplus would be calculated

if it sold their vehicles. The UCC mandates that creditors inform debtors that if they choose not

to redeem a repossessed vehicle, they will be credited the fair market value of the vehicle and not

simply what the creditor sells it for. This is critical information that the law requires that a debtor

receive within a limited time window to have the chance to make a rational decision regarding

redemption or surrender of collateral before it is sold.

       GM’s violation arises from incorrectly applying two statutes that govern the repossession

and disposal of vehicles in the Commonwealth: the Massachusetts Retail Installment Act

(“RISA”) and the UCC. The RISA permits lenders to repossess and sell repossessed vehicles

and then to bring suit for a loan deficiency. But, in calculating any applicable deficiency, the

                                                   1
         Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 2 of 18



RISA requires that lenders apply the car’s “fair market value” to the consumer’s loan balance –

not just the sale proceeds.

        The UCC requires that the lender send the consumer a notice of the planned sale which

informs the consumer, among other things, the manner in which the lender will calculate any

deficiency on the consumer’s loan after the sale. The UCC calculates deficiencies differently

than RISA – the UCC allows application of the sales proceeds from a “commercially reasonable”

sale rather than the “fair market value” to the consumer’s loan balance.

        But, the RISA displaces the UCC with respect to calculating deficiencies, so the pre-sale

notice must conform with the RISA’s requirement and explain that any deficiency will be

calculated by applying the fair market value of the vehicle to the loan balance. This was

explained recently by the Supreme Judicial Court in Williams v. Am. Honda Fin. Corp., 479

Mass. 656, 668 (2018) (holding that a pre-sale notice that fails to inform a debtor of the fair-

market-value credit is “never sufficient” under the UCC).

        GM’s pre-sale notices failed to comport with this plain-text application of the UCC. Yet,

in an effort to avoid liability for its unlawful notices, GM seeks dismissal on three grounds, none

of which have merit.

        First, GM argues that it should not be accountable for its unlawful notices because the

Supreme Judicial Court’s holding in Williams should not apply retroactively. This argument

fails because decisional law is almost always applied retroactively save for extraordinary

circumstances where the decision: (1) establishes a new rule not clearly foreshadowed; (2) does

not further the rule; and (3) inequitable results, or injustice or hardships, will occur as a result of

retroactive application.




                                                   2
         Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 3 of 18



       The circumstances here are not extraordinary. First, the Williams decision creates no new

law – it only confirms existing law that other lenders (such as JP Morgan Chase) routinely

complied with before Williams was decided. Second, assuming there is a new rule, retroactive

application is warranted because doing so bolsters the consumer protections underpinning the

UCC. Moreover, GM has failed to identify any legal hardship in complying with the existing

law. Therefore, the Williams decision should be applied to this case.

       Second, GM contends that applying the holding in Williams retroactively would violate

its due process rights. This argument is again without merit. First, due process is only

implicated where the statute in question is vague. But, as the SJC demonstrated by applying the

plain text of the UCC in conjunction with the RISA, the statute is not vague. The RISA

expressly states that its provisions displace any differing provisions in the UCC. M.G.L. c.

255B(d). GM simply failed to piece the two statutes regulating its self-help repossession

conduct together with respect to its pre-sale notices. GM’s claimed ignorance of the law is does

not excuse its failure. As mentioned above, numerous lenders in Massachusetts complied with

the statute before the SJC’s ruling in Williams. Moreover, it is clear that GM itself understood

the relationship between the RISA and the UCC prior to Williams given that it sent Ms. Hartwell

a post-sale notice that accurately indicated that her alleged loan deficiency was calculated by

applying the fair market value of her vehicle to her loan balance. It simply failed to do so when

the required information was most needed: while debtors had a window to decide to try to

redeem their vehicles or let them go. Thus, GM cannot credibly rely on due process as a defense.

       Finally, GM contends that Ms. Hartwell fails to assert any cognizable injury sufficient to

support a claim under 93A. This argument, too, fails. By sending pre-sale notices that did not

accurately describe how a deficiency would be calculated, GM deprived Ms. Hartwell and other



                                                 3
           Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 4 of 18



class members of the opportunity to make a rational, informed decision with the correct inputs

regarding whether or not to redeem their vehicle prior to the sale. This caused debtors detriment

which is cognizable as injury under Chapter 93A.

          For these reasons, the Court should deny GM’s motion to dismiss on all counts.

                                        II. BACKGROUND

          On or around April 13, 2015, Ms. Hartwell entered into a retail installment sales

agreement (the “Agreement”) with MAG Motors d/b/a Metro Kia (“Metro”) for the purchase of a

2013 Dodge Dart (the “Vehicle”). Amended Complaint (the “Complaint”), ¶ 5; Exhibit A,

Agreement. Sometime thereafter, Metro assigned the Agreement to GM.

          On or about April 5, 2018, GM caused the Vehicle to be repossessed. Complaint, ¶ 9.

Shortly thereafter, on April 9, 2018, GM sent Ms. Hartwell a notice (the “Repossession Notice”)

advising her of the repossession and of its intent to sell the vehicle. See Exhibit B, Repossession

Notice.

          The Repossession Notice failed to comply with the UCC by failing to advise Ms.

Hartwell that the fair market value, rather than the sale price, would be deducted from the

amount she owes on the loan as required by Massachusetts law, instead stating: “[t]he money

from the sale of this vehicle, less any expenses incurred by [GM] may reduce or or increase the

amount you owe.” Id.; Complaint, ¶ 11.

          Thereafter, on May 29, 2018, GM sent Ms. Hartwell a notice that it sold her vehicle. See,

Exhibit C, Post-Sale Notice. This time, however, GM included the correct standard as to how it

would calculate the deficiency on her loan balance, subtracting the “[g]reater of resale

proceeds … or Fair Market Value calculated in accordance with Massachusetts Law” from

the unpaid loan balance. Id. (emphasis added).



                                                   4
         Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 5 of 18



                                         III.    ARGUMENT

       A.      Standard of Review

       Fed. R. Civ. P. 8(a) requires that a complaint include a “short and plain statement of the

claim showing that the pleader is entitled to relief.” A motion to dismiss should be denied if a

plaintiff has shown a “plausible entitlement to relief." Bell Atl. Corp. v. Twombly, 550 U.S. 544,

559 (2007). "Asking for plausible grounds does not impose a probability requirement at the

pleading stage; it simply calls for enough fact to raise a reasonable expectation that discovery

will reveal evidence of [a cause of action]." Id. at 556.

       B.      The Williams Decision Applies Retroactively
                    i. GM Fails To Allege Any “Extraordinary” Circumstances Precluding
                       Retroactive Application.
       GM argues that this Court should limit the holdings of Williams only to repossession

notices sent after Williams was decided. This is inconsistent with SJC decisions regarding

retroactive application of decisional law. “Decisional law is generally applied ‘retroactively’ to

past events.” Schrottman v. Barnicle, 386 Mass. 627, 631 (1982) (citation omitted). The

“retroactive application of decisional law provides the necessary incentive to those aggrieved to

press for change and improvement in law, and is consistent with the institutional duty of courts

to resolve disputes brought before them.” Id.

       It is rare for courts to depart from this basic tenet and apply a decision only prospectively,

and a prerequisite to such a departure is that the decision contain a new rule. Indeed, “in

exceptional circumstances, when determining whether a new rule arising from decisional law

should apply [only] prospectively, [courts] look at three factors: (1) whether a new principle has

been established whose resolution was not clearly foreshadowed; (2) whether retroactive

application will further the rule; and (3) whether inequitable results, or injustice or hardships,


                                                  5
         Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 6 of 18



will be avoided by a holding of nonretroactivity.” Dever v. Ward, 92 Mass.App.Ct. 175 (2017)

(citation and internal quotations omitted) (emphasis added).

       First, in its holding, the SJC did not create any new law or a novel rule. Instead, it merely

restated an existing rule – that repossession notices must accurately describe a consumer’s

potential liability for a deficiency by stating that any deficiency will be calculated based on the

fair market value of the consumer’s vehicle. The SJC’s decision is the result of a plain-text

reading of the UCC and the RISA.

       The UCC, G. L. c. 106, §§ 9–600, generally governs defaults in secured transactions.

UCC § 9-614 provides that, after the repossession of collateral but before its sale, a lender must

send the consumer a written notice containing critical information regarding the process,

including a “description of any liability for a deficiency of the person to which the notification is

sent.” UCC § 9-614(1). The statute creates a safe harbor provision for any repossession notice

that states, among other things:

        [t]he money that we get from the sale (after paying our costs) will reduce the amount you
       owe. If we get less money than you owe, you (will or will not, as applicable) still owe us
       the difference. If we get more money than you owe, you will get the extra money, unless
       we must pay it to someone else.

       UCC § 9-614(3).

Notably, “the Uniform Commercial Code calculates deficiencies using the proceeds of a

‘commercially reasonable’ sale.” See Williams, at 668, citing G. L. c. 106, § 9–615.

       In contrast, the Massachusetts Retail Installment Sales Act, M.G.L. c. 255B, §§ 20B, 20A

(hereinafter, “RISA”), which applies to retail installment sales of vehicles, provides that,

“[u]nless displaced by the provisions of this section [RISA § 20B] and section twenty A [RISA §

20A] the rights and obligations of the parties, including the redemption and disposition of the




                                                  6
          Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 7 of 18



collateral shall be governed by the provisions of Part 6 of Article 9 of chapter 106.” RISA §

20B(d). In turn, RISA § 20B(e)(1) provides that:

        “[i]f the unpaid balance of the consumer credit transaction at the time of default was two
        thousand dollars or more the creditor shall be entitled to recover from the debtor the
        deficiency, if any, resulting from deducting the fair market value of the collateral from
        the unpaid balance due and shall also be entitled to any reasonable repossession and
        storage costs, provided he has complied with all provisions of this section.”

In other words, “General Laws c. 255B, § 20B, calculates the deficiency using the fair market

value of the vehicle, whereas the Uniform Commercial Code calculates deficiencies using the

proceeds of a ‘commercially reasonable’ sale.” Williams, at 668 (citing G. L. c. 106, § 9–615).

And “[b]ecause the Uniform Commercial Code and G. L. c. 255B, § 20B, calculate deficiencies

differently, the use of the Uniform Commercial Code safe harbor language is inconsistent with

Massachusetts law.” Id. at 668-69. Therefore, “[t]he notice that is required by G. L. c. 106, § 9–

614, and G. L. c. 106, § 9–616,1 must describe the deficiency as the difference between the fair

market value of the collateral and the debtor's outstanding balance because this is what is

required by § 20B.” Id. at 669.

        The Williams decision stands for something simple: the provisions of UCC § 9-614 do

not exist on an island and must be read with RISA, so a notice sent under UCC § 9-614 is

sufficient only when it informs the debtor that any loan deficiency will be calculated based on

the fair market value of the vehicle and not the proceeds from the sale of the vehicle. See

Williams, supra at 669. The SJC’s decision simply confirmed this plain-text approach to

interpreting both the relevant statutes, holding “that the notice that is required by the Uniform

Commercial Code is never sufficient where the deficiency is not calculated based on the fair

market value of the collateral and the notice fails to accurately describe how the deficiency is


1
 Section 9-616 requires that notice be provided to the consumer after the sale of their collateral. The
notice must describe, among other things, a description of any deficiency the consumer may owe.

                                                     7
         Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 8 of 18



calculated.” Williams, 479 Mass. at 668 (emphasis added). The “fair market value” credit a

debtor is owed after his car is repossessed is found only in the RISA and not in the UCC, yet the

SJC reminded lenders that turning a blind eye to the requirements of the RISA while parroting

the language of the UCC is “never” sufficient. Id.

       One of the core obligations imposed on lenders under RISA § 20B is that the creditor is

entitled to recover the deficiency, if any, resulting from deducting the fair market value of the

collateral from the unpaid balance due. The court in Williams highlighted the obvious – that this

obligation carries over to the post-repossession notice, as the notice must accurately describe

how the deficiency is calculated. See Williams, supra. Indeed, “[a]ny doubt on this issue was

resolved in 2001, when the Legislature made explicit that it intended to displace the UCC in this

respect, adding to § 20B the language, “[n]otwithstanding the provisions of [UCC, G. L. c. 106,

§§ 9–601 to 9–628].” Williams, 479 Mass. at 678 (C.J. Gants, dissenting).

       This was not a surprising result. Indeed, lenders routinely complied with this rule before

the June 2018 decision in Williams, demonstrating that lenders understood the rule before the

SJC’s ruling. See, e.g., Exhibit D, JP Morgan Chase Bank, Repossession Notice, June 9, 2017

(“[s]tate law requires we apply the greater of actual sales proceeds and the Vehicle’s fair market

value to reduce (or cancel in some cases) your obligation”); Exhibit E, Rockland Federal Credit

Union, Repossession Notice, February 6, 2018 (“[b]e advised that should the collateral be sold

by the Rockland Federal Credit Union, you may be held liable for the payment of any unpaid

balance plus repossession and storage costs (after applying the fair market value of the collateral

to your loan balance.”); Exhibit F, Exeter Finance, Repossession Notice, January 27, 2017

(deficiency calculated by subtracting the “[h]igher of (a) gross proceeds from the sale of the

Vehicle or (b) fair market value of Vehicle” from net balance due).



                                                 8
         Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 9 of 18



       In fact, GM’s own post-sale notice demonstrates that it understood that the RISA and the

UCC must be read together when repossessing and selling a consumer’s vehicle. In the post-sale

notice GM sent to Ms. Hartwell, it accurately described Ms. Hartwell’s post-sale deficiency as

subtracting the “[g]reater of resale proceeds … or Fair Market Value calculated in

accordance with Massachusetts Law” (emphasis added). See, Exhibit C, Post-Sale Notice.

Given that the “fair market value” credit is found only in the RISA and the post-sale notice

requirements are found only in the UCC, GM plainly understood the interplay between the two

statutes. Accordingly, GM’s argument that the holding in Williams presented some unforeseen

clarification of the existing rule under both the UCC and RISA §§ 20A and 20B falls flat. Given

that there was no new rule, and the existing rule was commonly understood not only by other

lenders across the Commonwealth but by GM itself, any question over whether the decision

should apply only prospectively ends.

       But, even were the Williams decision a new rule, retroactive application would be

appropriate because it would further the purposes of the statute. “Sections 9-614 and 9-616 [of

the UCC] continue the expansion of consumer-oriented rules in the Code. The thrust of these

uniform provisions is to advance the notion of communications to the debtor, which are

informative and helpful, as well as consumer friendly, in consumer dispositions.” See Herbert

Lemelman, Massachusetts Practice Series: Manual on Uniform Commercial Code, 25A Mass.

Prac. § 9:234 (ed ed.)

       The import of the SJC’s holding in Williams is that a notice sent under UCC § 9-614 is

sufficient only when it informs the debtor that any loan deficiency will be calculated based on

the fair market value of the vehicle and not what a lender may fetch for it at a dealer auction or

private sale. This is vital information for a debtor weighing his or her options after a



                                                 9
        Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 10 of 18



repossession, as gauging the size of the potential amount of post-repossession debt is key for

deciding whether to redeem or surrender a vehicle. A fair market value credit is not only

knowable via a Google search but likely to be larger than what may actually be obtained via a

range of possible real-world disposition methods. Therefore the Williams decision furthers the

purpose of the RISA and UCC in providing consumers with some measure of transparency at a

time when their property has been seized by a creditor using self-help repossession outside the

supervision of a court. Osborne v. Minnesota Recovery Bureau, Inc., No. 04–1167(JRT/FLN),

2006 WL 1314420, at *2 (D. Minn. May 12, 2006) (applying strict construction of UCC

provision because “self-help repossession is a harsh remedy” and “strict application of the law is

necessary to prevent abuse and to discourage illegal conduct”) (citation omitted).

       Third, no injustice or hardship will befall GM by retroactively applying Williams. GM

has provided no reason why compliance with the notice requirements under Massachusetts law

presents an undue hardship. GM need only change the text of its form repossession notices in

order to comply with the law. As noted above, lenders across the Commonwealth were able to

do this before the Williams decision without issue. And if GM had simply informed consumers

of their RISA fair market value crediting rights in its pre-sale UCC notices like it did in its post-

sale notices, it would have complied with the law. Thus, there should be no exception here to the

general principle that decisional law applies retroactively.

                   ii. GM’s Reliance On Eaton v. FNMA Is Misplaced.
       GM relies heavily on the SJC’s holding in Eaton v. FNMA, 462 Mass. 569 (2012) to

claim that retroactive application here is inappropriate. GM is wrong. In Eaton, the SJC

interpreted the term “mortgagee” under a Massachusetts statute to mean that a mortgagee must

hold both the mortgage and the note in order to effectuate a foreclosure. 462 Mass. at 588. Prior

to its decision, lenders and attorney had relied on an interpretation of the term “mortgagee” that

                                                 10
         Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 11 of 18



instead “require[d] the mortgagee to hold only the mortgage, and not the note, in order to effect a

valid foreclosure by sale.” Id. at 588. The SJC was warned that, if applied retroactively, the

decision would “wreak havoc with the operation and integrity of the title recording and

registration systems by calling into question the validity of any title that has a foreclosure sale in

the title chain.” Id. at 586.

        Considering the impact of the decision, the SJC noted that “when [it] construe[s] a

statute, [it] do[es] not engage in an analysis whether that interpretation is given retroactive or

prospective effect; the interpretation [it] give[s] the statute usually reflects the court's view of its

meaning since the statute's enactment.” Id. at 587. However, the SJC, acknowledging that

retroactive application of its decision would upend the Commonwealth’s entire property

recording system, decided to apply its decision only prospectively, citing the “significant

difficulties in ascertaining the validity of a particular title if the interpretation of ‘mortgagee’ that

we adopt here is not limited to prospective operation, because of the fact that our recording

system has never required mortgage notes to be recorded.” Id.

        In sum, the SJC’s concern in Eaton was that retroactive application would throw a

wrench into deciphering the chain of title of thousands of mortgages across the Commonwealth.

In effect, by redefining the term “mortgagee” to be the person or entity that holds both the

mortgage and the note secured by the mortgage, the SJC threatened to rupture the entire housing

and foreclosure markets, which at the time were built around the notion that an individual or

entity only needed to hold the mortgage in order to effectuate a valid foreclosure sale. As a

result, retroactive application of its holding in Eaton would call into question not only the

validity of countless prior foreclosures and subsequent sales of homes, but also the very chain of

title on which current owners of these homes now rely.



                                                   11
        Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 12 of 18



       The holding and reasoning from Eaton is not applicable here. First, the SJC did not

indicate that its decision in Williams would only apply prospectively, as it did in Eaton. This was

sensible, as none of the exceptional circumstances in Eaton are present here. As noted above,

Williams did not provide any novel interpretation of a defined term or existing statute. Instead, it

merely confirmed that the RISA and the UCC must be read together in determining what

constitutes a lawful post-repossession notice in accordance with the plain text of the statute and

the intent of the Massachusetts legislature. See Williams, 479 Mass. at 678 (C.J. Gants,

dissenting) (“[a]ny doubt on [whether the Massachusetts legislature intended to displace the

UCC provisions governing deficiency liability] was resolved in 2001, when the Legislature made

explicit that it intended to displace the UCC in this respect, adding to [RISA] § 20B the

language, ‘[n]otwithstanding the provisions of [UCC, G. L. c. 106, §§ 9–601 to 9–628]’ ”).

       Furthermore, applying Williams retroactively would not upend the entire auto-loan

market by calling into question the validity of countless prior repossessions, which rest on the

fact that a consumer-debtor defaulted on his or her obligations under their car loan, or any

subsequent dispositions of such vehicles. In stark contrast, had Eaton been applied retroactively,

lenders’ rights and interests with respect to countless properties would be subject to dispute.

       Here, retroactive application of Williams would only further the purpose of the statute by

holding lenders accountable for misleading consumers on how the deficiency on their loan would

be calculated. Accordingly, because Williams in no way invades the lender’s right to repossess,

retain, or otherwise assert and effectuate its security interest in the vehicle, the SJC’s holding in

Eaton does not apply here.




                                                  12
          Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 13 of 18



                    iii. GM’s Due Process Rights Are Not Implicated, As the Statute Is Not
                         Vague.

          GM argues that that the retroactive application of Williams would violate GM’s due

process rights on account of vagueness. A law is void for vagueness if persons “of common

intelligence must necessarily guess at its meaning and differ as to its application.” Smith v.

Goguen, 415 U.S. 566, 572 n. 8 (1974), quoting Connally v. General Constr. Co., 269 U.S. 385,

391 (1926). Vague laws violate due process because individuals do not receive fair notice of the

conduct proscribed by a statute, Papachristou v. Jacksonville, 405 U.S. 156, 162 (1972), and

because vague laws that do not limit the exercise of discretion by officials allow for possible

arbitrary and discriminatory enforcement. Grayned v. Rockford, 408 U.S. 104, 108–109 & n. 4,

(1972).

          “[E]conomic regulation is subject to a less strict vagueness test because its subject matter

is often more narrow, and because businesses, which face economic demands to plan behavior

carefully, can be expected to consult relevant legislation in advance of action.” Vill. of Hoffman

Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498 (1982). “Indeed, the regulated

enterprise may have the ability to clarify the meaning of the regulation by its own inquiry, or by

resort to an administrative process.” Id. Moreover, “outside of the realm of the first amendment,

vagueness challenges are ‘judged on an as-applied basis.’ ” U.S. v. Bay State Ambulance and

Hosp. Rental Service, Inc., 874 F.2d 20

          Here, GM’s contention that both the RISA and the UCC were “vague” prior to the court’s

decision in Williams fails for the same reasons that Williams applies retroactively in the first

place. The plaint-text approach taken by the SJC in Williams belies the assertion that GM would

have had to “guess at the meaning” of the RISA and the UCC. See Smith v. Goguen, supra, at

566, 572 n. 8. Indeed, the relevant portions of RISA and the UCC existed long before the

                                                   13
          Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 14 of 18



decision in Williams and were commonly understood by lenders in the Commonwealth prior to

Williams. See, e.g., Exhibit D, JP Morgan Chase Bank; Exhibit E, Rockland Federal Credit

Union; Exhibit F, Exeter Finance.

          Moreover, the plain meaning of the statutes precludes any notion that GM would be

subject to any unfair surprise by the enforcement of GM’s violation of the UCC. The text of the

UCC and RISA make clear that certain provisions of the UCC have been displaced by RISA §§

20A and 20B, including UCC § 9-614. Therefore, the statute is not unconstitutionally vague.

          C.     GM’s Willful Violation of The UCC and RISA Constitutes Is In-Itself A
                 Violation of 93A, Which Harmed Ms. Hartwell By Depriving Her Of The
                 Opportunity To Make An Informed Choice In Deciding Whether Or Not
                 To Redeem Her Vehicle Prior To Its Disposition

                     i. A Willful Violation of UCC 9-614 and RISA Is An Unfair and
                        Deceptive Practice

          Section 2 of Chapter 93A makes unlawful “[u]nfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce.” In determining whether a

practice violates Chapter 93A, courts look to “(1) whether the practice ... is within at least the

penumbra of some common-law, statutory, or other established concept of unfairness; (2)

whether it is immoral, unethical, oppressive, or unscrupulous; [and] (3) whether it causes

substantial injury to consumers (or competitors or other businessmen).” PMP Assocs., Inc. v.

Globe Newspaper Co., 366 Mass. 593 (1975) (quotations omitted). “Without limiting the scope

of any other rule, regulation or statute, an act or practice is a violation of 93A § 2 if … it fails to

comply with existing statutes, rules, regulations or laws, meant for the protection of the public’s

health, safety, or welfare promulgated by the Commonwealth or any political subdivision thereof

intended to provide the consumers of this Commonwealth protection.” 940 Code Mass. Regs. §

3.16(3)



                                                  14
        Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 15 of 18



       Here, the consumer protection provisions of the UCC and RISA, which include the notice

requirements violated by GM as described herein, are existing statutes, rules, regulations, or

laws, meant for the protection of the public health, safety, or welfare promulgated by the

Commonwealth within the meaning of 940 Code Mass. Regs. §3.16(3). As set forth above, the

UCC is designed to protect consumers by ensuring vital communications during the disposition

of their property. See Herbert Lemelman, Massachusetts Practice Series: Manual on Uniform

Commercial Code, 25A Mass. Prac. § 9:234 (ed ed.). And violating the RISA is a per se

violation of Chapter 93A. See M.G.L. c. 255, § 6 (“A violation of this chapter shall also be a

violation of chapter ninety-three A”); see also Williams, 479 Mass. at 678 (C.J. Gants,

dissenting) (Section 20B of the RISA was “intended broadly to protect the rights of consumers

broadly and, more specifically, to protect consumers from potential abuse by creditors who

would repossess their vehicles, sell them at distressed prices, and then claim large deficiencies”).

       Accordingly, GM violated 93A § 2 when it sent its unlawful post-repossession notices to

consumers across the Commonwealth, including Ms. Hartwell.

                   ii. Ms. Hartwell Suffered A Cognizable Injury Under 93A

       In order to have standing to sue under Chapter 93A, a consumer must allege that “the

violation of [a] legal right that has created the unfair or deceptive act or practice cause[d] the

consumer some kind of separate, identifiable harm arising from the violation itself.” Tyler v.

Michaels Stores, Inc., 464 Mass. 492, 503-04 (2013).

       Depriving a plaintiff of the correct inputs needed to make a rational decision about an

important asset is such a “separate, identifiable harm” within the meaning of Chapter 93A injury

law. See, e.g., Iannacchino v. Ford Motor Co., 451 Mass. 623, 624–25 (2008) (finding that a

claim by plaintiffs that the cars they purchased were less safe than was represented or required



                                                  15
        Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 16 of 18



by safety standards “would support a cause of action under G.L. c. 93A, § 9”); Aspinall v. Philip

Morris Companies, Inc., 442 Mass. 381, 384 (2004) (holding that purchasers of cigarettes could

bring a class action against a manufacturer for falsely claiming that its cigarettes delivered health

benefits they did not, in fact, provide). Indeed, depriving consumers of vital information

required by statute goes to the very heart of what constitutes an injury under 93A, because it

leaves plaintiffs in a worse position than they would have been had they been provided the

information required by law. See Hershenow v. Enter. Rent-A-Car Co. Of Bos., Inc., 445 Mass.

790, 800 (2006) (noting that a statutory violation that leaves consumers in a “worse position”

than they would have been in had the defendant complied with the requirements of

Massachusetts law constitutes an economic injury under 93A).

       When GM failed to inform Ms. Hartwell that she would be entitled to a fair-market-value

credit if GM sold her car, it materially misstated how her loan deficiency would be calculated.

This, by definition, deprived Ms. Hartwell of the chance to make a rational, informed choice

about what to do about her vehicle. It is not difficult to see how consumers might make different

choices knowing or not knowing the basis of a post-sale credit. See Hershenow, supra, at 790.

       Moreover, a reasonable inference exists that these faulty notices caused Ms. Hartwell and

other consumers in Massachusetts to act differently following the repossession of their vehicles,

which can form the basis of cognizable injury under Chapter 93A. See Aspinall, 442 Mass. at

394 (finding the deceptive advertising regarding health benefits of light cigarettes “could

reasonably be found to have caused a person to act differently from the way he [or she]

otherwise would have acted,” and thus causation was established for purposes of establishing an

injury under 93A); Lannan v. Levy & White, 186 F. Supp. 3d 77, 96 (D. Mass. 2016) (finding an

injury in the 93A context where the defendant’s wrongful inclusion of undifferentiated



                                                 16
          Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 17 of 18



prejudgment interest in small claims complaints and the inclusion of prejudgment interest

calculated from the date of provision of services were “likely to have some kind of negative

impact on the recipient, particularly in terms of assertion of legal rights or financial

decision-making”) (emphasis added), citing Gathuru v. Credit Control Servs., Inc., 623

F.Supp.2d 113, 123 (D.Mass.2009) (finding Chapter 93A injury based on attempted collection of

debt amounts not owed).2 This is the substance of the injury suffered by Ms. Hartwell.

          At bottom, by failing to provide adequate notice of how exactly the deficiency on their

loan balances would be calculated, GM is effectively taking advantage of consumers by forcing

them to make a decision without being properly appraised of all the relevant information. GM

knew the true basis of the sale credit, as it stated that fair-market-value basis in its post-sale

notices. Without this information pre-sale, consumers are left in the “worse and untenable”

position of having to make an important decision without all of the relevant inputs, while the

lender reaps the benefit of this asymmetrical distribution of knowledge. See Complaint, ¶¶ 36-

37; Tyler v. Michaels Stores, Inc., supra, at 503-04. This is exactly what the court in Williams

sought to address by making clear “that the notice that is required by the Uniform Commercial

Code is never sufficient where the deficiency is not calculated based on the fair market value of

the collateral and the notice fails to accurately describe how the deficiency is calculated.”

Williams, 479 Mass. at 668 (emphasis added).

                                        IV.      CONCLUSION

         For the foregoing reasons, the Defendant’s motion to dismiss should be denied.



2
  Even if Ms. Hartwell did not rely on the notice in making her decisions, as GM suggests, it is not fatal to her claim.
See Ferreira v. Sterling Jewelers, Inc., 130 F. Supp. 3d 471, 478 (D. Mass. 2015) (“[t]o prove causation of one of
these cognizable injuries, a plaintiff ‘need not show proof of actual reliance on a misrepresentation in order to
recover damages’; instead, the plaintiff must show ‘a causal connection between the deception and the loss and that
the loss was foreseeable as a result of the deception.’”) (citation omitted).

                                                          17
        Case 1:18-cv-11895-DJC Document 26 Filed 01/18/19 Page 18 of 18



                                                    Respectfully submitted,

                                                    DANIKA HARTWELL,
                                                    By her attorneys,

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Dated: January 18, 2019

                               CERTIFICATE OF SERVICE

       I, Raven Moeslinger, hereby certify that today I caused to be served the within on counsel

for the defendant via ECF service.

                                                    /s/ Raven Moeslinger




                                               18
